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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 THADIEUS GOODS,                )
                                )
                     Plaintiff, )                          Case No.: 1:23-cv-4116
                                )
          v.                    )                          Judge Rebecca R. Pallmeyer
                                )
 THOMAS DART, SHERIFF OF COOK )                            Mag. Judge Jeffrey Cole
 COUNTY, and COOK COUNTY, )
 ILLINOIS                       )
                                )
                     Defendant. )

                  DEFENDANTS’ AGREED MOTION FOR EXTENSION
                    OF TIME TO ANSWER OR OTHERWISE PLEAD
                       TO PLAINTIFF’S COMPLAINT AT LAW

       NOW COME Defendants COOK COUNTY SHERIFF THOMAS DART, and COOK

COUNTY, a body politic and corporate, by and through their attorneys, Jason E. DeVore and Troy

S. Radunsky, of DeVore Radunsky LLC, pursuant to Fed. R. Civ. P. 6(b), and for Defendants’

Agreed Motion for Extension of Time to Answer or Otherwise Plead to Plaintiff’s Complaint at

Law, state as follows:

       1.      On June 27, 2023, Plaintiff filed his Complaint at Law, initiating this matter with the

               Court. ECF No. 1.

       2.      On July 6, 2023, Plaintiff effectuated service upon Defendant Dart, leaving 21 days

               for Defendants’ responsive pleadings to be filed with the Court, on or before July

               27, 2023. ECF No. 7.

       3.      Defendant’s Counsel communicated with Counsel for Plaintiff on July 24, 2023, and

               Plaintiff agreed to this Motion for Extension of Time therein.

       4.      Defendants now request a 47 (fourty-seven) day extension, until September 11,

               2023, to file their answer or other responsive pleading to Plaintiff’s Complaint.

       5.      Counsel for Defendants are currently looking through the case materials and

               familiarizing themselves with the matter.
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       6.      Additionally, Counsel for Defendants have numerous other briefs due in the

               intervening period which would interfere with their ability to fully respond to the

               issues rising in the complaint.

       7.      Under Rule 6(b), this Court may, for good cause, extend the time “[w]hen an act may

               or must be done.” Fed. R. Civ. P. 6(b).

       8.      Not granting an extension of time for Defendant’s Answer or other responsive

               pleading would prejudice Defendant because the current July 27, 2023, deadline does

               not allow sufficient time to properly prepare and submit Defendants’ answers or

               other responsive pleadings under the circumstances.

       9.      Granting an extension of time will not prejudice any party and this motion is not

               brought for undue delay or any improper purpose

       WHEREFORE, Defendants respectfully request that this Honorable Court enter an order as

follows:

       1. Defendants’ Motion for Extension of Time is granted;

       2. Defendants’ Answers or Other Responsive Pleadings to Plaintiff’s Complaint at Law

            shall be filed by September 11, 2023

                                                           Respectfully Submitted,

                                                           Defendants

                                                    By:    /s/ Jason E. DeVore
                                                           Jason E. DeVore, One of the Attorneys
                                                           for Defendants

DEVORE RADUNSKY LLC
Jason E. DeVore (ARDC # 6242782)
Troy S. Radunsky (ARDC # 6269281)
Zachary G. Stillman (ARDC # 6342749)
230 W. Monroe Street, Ste. 230
Chicago, IL 60606
(312) 300-4479 telephone
jdevore@devoreradunsky.com
tradunsky@devoreradunsky.com
zstillman@devoreradunsky.com

                                 CERTIFICATE OF SERVICE
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        The undersigned, an attorney, hereby certifies that Defendant’s Motion for Extension of
Time to File Answer or Other Responsive Pleading was filed on July 25, 2023, with the Northern
District of Illinois ECF System, serving a copy to all parties.

                                                  /s/Zachary Stillman
                                                  Zachary Stillman
